     Case 2:90-cv-00520-KJM-SCR              Document 5099          Filed 03/06/14        Page 1 of 3


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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                             SACRAMENTO DIVISION
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13     RALPH COLEMAN, et al.,                                   2:90-cv-00520 LKK DAD PC
14                                               Plaintiffs, DECLARATION OF CHRISTINE M.
                                                             CICCOTTI IN SUPPORT OF
15                    v.                                     DEFENDANTS’ STATUS CONFERENCE
                                                             STATEMENT
16
       EDMUND G. BROWN JR., et al.,
17
                                              Defendants.
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19           I, Christine M. Ciccotti, declare as follows:

20           1.    I am a Deputy Attorney General with the California Office of the Attorney General,

21     attorney of record for Defendants in this case, and I am admitted to practice before this Court. I

22     am competent to testify to the matters set forth in this declaration, and If called upon by this

23     Court, would do so competently. I submit this declaration in support of Defendants’ Status

24     Conference Statement concerning issues arising from the death of Inmate D.

25           2.    Attached as Exhibit 1 to my Confidential Declaration is a true and correct copy of

26     excerpts from the Deposition Transcript of Dr. Corey Scheidegger, taken on February 12, 2014.

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                           Ciccotti Decl. Supp. Defs.’ Status Conference Statement Issues (2:90-cv-00520 LKK DAD PC)
     Case 2:90-cv-00520-KJM-SCR            Document 5099          Filed 03/06/14        Page 2 of 3


 1           3.    Attached as Exhibit 2 to my Confidential Declaration is a true and correct copy of
 2     pages 6, 20, 31, and 34 of Volume I of Inmate D’s electronic Unit Health Record.
 3           4.    Attached as Exhibit 3 to my Confidential Declaration is a true and correct copy of
 4     excerpts from the Deposition Transcript of Kathleen Allison, taken on February 18, 2014.
 5           5.    Attached as Exhibit 4 to my Confidential Declaration is a true and correct copy of
 6     excerpts from the Deposition Transcript of Judy Burleson, taken on February 18, 2014.
 7           6.    Attached as Exhibit 5 to my Confidential Declaration is a true and correct copy of
 8     excerpts from the Deposition Transcript of Michael Stainer, taken on February 24, 2014.
 9           7.    Consistent with the Court’s January 30, 2014 order, the parties met-and-conferred
10     regarding preparation of a joint statement of undisputed material facts, but were unable to reach
11     agreement beyond the agreement to submit the reports. A true and correct copy of the meet-and-
12     confer correspondence regarding the proposed joint factual statement (excluding attachments) is
13     attached as Exhibits 6 and 7 to my Confidential Declaration.
14           8.    During the meet-and-confer, Defendants agreed that Plaintiffs could review the draft
15     reports and related email correspondence subject to the Coleman protective order and a separate
16     protective agreement, and without any waiving any applicable rights or privileges. A true and
17     correct copy of the Joint Non-Disclosure and Protective Agreement is attached as Exhibit 8 to my
18     Confidential Declaration. The parties subsequently agreed, subject to the same agreements, that
19     Plaintiffs could submit two draft suicide reports, dated October 7, 2013 and October 24, 2013 for
20     review by the Court. A true and correct copy of the October 7, 2013 suicide report for Inmate D
21     is submitted as Exhibit 9 to my Confidential Declaration, and a true and correct copy of the
22     October 24, 2013 suicide report for Inmate D is submitted as Exhibit 10 to my Confidential
23     Declaration.
24           I declare under penalty of perjury under the laws of the State of California and the United
25     States of America that the foregoing is true and correct. Executed in Sacramento, California on
26     March 6, 2014.
27                                                                           ___/s/ Christine M. Ciccotti____
                                                                              Christine M. Ciccotti
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                                                          2
                         Ciccotti Decl. Supp. Defs.’ Status Conference Statement Issues (2:90-cv-00520 LKK DAD PC)
     Case 2:90-cv-00520-KJM-SCR         Document 5099          Filed 03/06/14        Page 3 of 3


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